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                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                      EUGENE DIVISION



UNITED STATES OF AMERICA,                                          Case Nos. 6:18-cr-00606-AA
                                                                             6:15-cr-00191-AA
               Plaintiff,
                                                                      OPINION AND ORDER
      vs.

RONALD ALLEN BRANDBERG,

               Defendant.


AIKEN, District Judge:

      Before the Court is defendant Ronald Allen Brandberg’s Motion to Reduce

Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A) (doc. 41)1. The Court held oral

argument on the motion on September 17, 2020, and denied the motion on the record

for the following reasons.

                                          STANDARDS

      Generally, a district court “may not modify a term of imprisonment once it has

been imposed.” 18 U.S.C. § 3582(c); see Dillon v. United States, 560 U.S. 817, 824–25



      1   Unless otherwise noted, all record cites are to the docket in Case No. 6:18-cr-00606-AA.



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(2010). Compassionate release under § 3582(c)(1)(A) provides an exception in rare

cases. Until 2018, § 3582 allowed compassionate release only on a motion by the

Bureau of Prisons (“BOP”). The First Step Act, Pub. L. No. 115-391, § 603, 132 Stat.

5194, 5239 (Dec. 21, 2018), amended            § 3582 to authorize courts to grant

compassionate release motions filed by defendants where they had petitioned BOP to

bring a motion on the defendants’ behalf and either they had exhausted all

administrative appeals after a denial or thirty days had elapsed since the Warden

received their request.

      Section 3582(c)(1)(A) authorizes a court to modify a defendant’s sentence if it

finds that two conditions have been satisfied: (1) that “extraordinary and compelling

reasons warrant such a reduction” and (2) “such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. §

3582(c)(1)(A)(i). In making this determination, the Court must “consider[] the factors

set forth in [18 U.S.C.] § 3553(a) to the extent applicable[.]” Id. (emphasis added).

      The    relevant     policy   statement   for   sentence    reductions   under   the

compassionate release statute is found in the United States Sentencing Guidelines,

§ 1B1.13. According to the policy statement “extraordinary and compelling reasons”

for release are: (1) the “Medical Condition of the Defendant” – the defendant is

suffering from a terminal illness, serious physical or medical condition, serious

functional or cognitive impairment, or deteriorating physical or mental health

because of the aging process “that substantially diminishes the ability of the

defendant to provide self-care within the environment of a correctional facility and




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from which he or she is not expected to recover[;]” (2) the “Age of the Defendant” –

the defendant is at least 65 years old, is experiencing serious deterioration in physical

or mental health because of the aging process, and has served at least 10 years or 75

percent of his or her term of imprisonment, whichever is less; (3) “Family

Circumstances” – the death or incapacitation of the caregiver of the defendant’s minor

child or the incapacitation of the defendant’s spouse or registered partner when the

defendant would be the only available caregiver for the spouse or registered partner;

and (4) any other extraordinary and compelling reasons determined by the Director

of BOP. U.S.S.G. § 1B1.13 cmt. 1.

      Although the fourth category of “extraordinary and compelling reasons”

encompasses other circumstances as determined by the BOP director, § 1B1.13 cmt.

1(D), the Court follows the majority of federal district courts that “have found that

the most natural reading of the amended § 3582(c) and 28 U.S.C. § 994(t) is that the

district court assumes the same discretion as the BOP director when it considers a

compassionate release motion properly before it.” United States v. Perez, No. 88-

10094-1-JTM, 2020 WL 1180719, at *2 (D. Kan. Mar. 11, 2020); see also United States

v. Joling, No. 6:15-cr-00113-AA, 2020 WL 1903280, at *3 (D. Or. Apr. 17, 2020).

Nevertheless, the policy statement remains instructive. See United States v. Hanson,

No. 6:13-cr-00387-AA-1, 2020 WL 3605845, at *3 (D. Or. July 2, 2020); United States

v. Haft, No. 3:12-cr-42-SI, 2020 WL 3412195, at *2 (D. Or. June 22, 2020).

      The policy statement also requires a finding that the defendant does not pose

a danger to others or the community under the factors provided in 18 U.S.C. § 3142(g).




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U.S.S.G. § 1B1.13(2). The factors include: 1) the nature and circumstances of the

offense charged, (2) the weight of the evidence against the person, (3) the history and

characteristics of the person, and (4) the nature and seriousness of the danger to any

person or the community that would be posed by the person’s release.

18 U.S.C. § 3142(g).

      Finally, the policy statement observes that “[t]he court is in a unique position

to determine whether the circumstances warrant a reduction . . . after considering

the factors set forth in [§ 3553(a)] and the criterial set forth in this policy statement,

such as . . . whether the defendant is a danger.” U.S.S.G. § 1B1.13 cmt. 4. In imposing

a sentence which is “sufficient, but not greater than necessary” under § 3553(a),

courts consider, among other things, the nature and circumstances of the offense, the

history and characteristics of the defendant, community safety, the kinds of sentences

available, the need to avoid unwanted disparities in sentencing, and all other

obligations of sentencing including punishment, deterrence, and rehabilitation. 18

U.S.C. § 3553(a).

                                    DISCUSSION

      On August 10, 2016, the Court sentenced Brandberg to time served and a

three-year term of supervised release, following his guilty plea to one count of felon

in possession of a firearm, 18 U.S.C. § 922 (g)(1). Docs. 42, 43 in Case No. 6:15 -cr-

00191-AA.    On August 11, 2018, while Brandberg was still under the Court’s

supervision, Newport Police officers found a total of 423 grams of methamphetamine

in Brandberg’s pocket and car during a traffic stop. As a result, the Court issued a




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Warrant and Order to Show Cause why Brandberg’s term of supervised release

should not be revoked (docs. 51, 52 in 6:15-cr-00191-AA), and the Government filed

additional criminal charges against Brandberg. See Case. No. 6:18-cr-00606-AA.

       Brandberg admitted to violating the terms of his supervised release and

pleaded guilty to one count of possession of methamphetamine with intent to

distribute. At sentencing on June 24, 2020, the Court found that Brandberg’s new

offense carried a guidelines range of 108 to 135 months’ imprisonment but sentenced

him to the mandatory minimum of 60 months’ instead, to be served concurrently with

the 12 months’ imprisonment imposed for his supervised release violation.

Brandberg is serving his sentences at Federal Correctional Institution (“FCI”)

Sheridan. His expected release date is November 13, 2022.

       Brandberg submitted a request for compassionate release to the Warden of FCI

Sheridan on July 1, 2020, before filing this motion on July 12, 2020. Doc. 41 at 3.

Because the Government does not challenge his assertion and more than 30 days

have elapsed since July 1, this motion is properly before the Court.

       Brandberg argues that the COVID-19 outbreak at FCI Sheridan, coupled with

his age and medical conditions present “extraordinary and compelling reasons” for

his release. Doc. 41 at 1.2 Brandberg is 61 years old, with a family history of “cancer

and lung problems.” Id. He asserts that he also has lung problems “and other medical

issues” that make him particularly vulnerable to severe illness or death from a



       2  Brandberg’s initial motion also argued that conditions at FCI Sheridan violated his rights
under the Eighth Amendment to the United States Constitution, see doc. 41 at 4–9, but he did not
argue those grounds at the hearing and the Court will not address them here.



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COVID-19 infection. Id. However, during the presentence investigation earlier this

summer, Brandberg reported that “he does not have a history of health problems[,]”

which his mother confirmed. PSR (doc. 35) ¶ 54. At BOP Heath Services Heath

Screens conducted August 20, 2019 and November 8, 2019, Brandberg denied having

seizures, diabetes, cardiovascular conditions, cerebrovascular accident (stroke),

hypertension, respiratory conditions, sickle cell anemic, carcinoma or lymphoma, or

allergies and denied any history of “previous disease,” including hepatitis or other

infectious diseases. Doc. 49 at 5–6; id. at 10–13. The only condition documented in

Brandberg’s BOP medical records is chronic migraines, which he trea ts with

Naproxen. Id. at 4, 8, 13, 15, 22, 25. Brandberg also asserts that, as of July 8, 2020,

he had not been tested for COVID-19. Doc. 41 at 8. However, Brandberg’s BOP

medical records include a July 4, 2020, report from the Oregon State Public Health

Laboratory, which states that a COVID-19 test collected from Brandberg on July 2,

2020, had been negative. Doc. 49 at 25 (reporting “Real-Time RT-PCR for 2019-nCoV:

Undetected”).

      Brandberg filed this motion on July 12, 2020, shortly after FCI Sheridan

reported its first two positive COVID-19 tests among inmates. Now, BOP reports

that there are four active, confirmed COVID-19 cases among inmates and no cases

among     staff.      COVID-19      Coronavirus,      FED.    BUREAU     OF    PRISONS ,

https://www.bop.gov/coronavirus/ (last visited Sept. 17, 2020). In total, FCI Sheridan

has had seven confirmed COVID-19 cases among inmates and no deaths attributed

to COVID-19. Id.




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      Brandberg seeks release to Newport, Oregon, where he will reside at his

sister’s, Janet Wood’s, home where she, their mother, and her husband live.       If

released, he would be referred for substance abuse treatment and testing at

ReConnections and for mental health treatment through Lincoln County Health and

Human Services, both in Newport.      On September 14, 2020, the United States

Probation Office contacted Mrs. Wood, and she confirmed that she was more than

willing to have Brandberg live with her. She also mentioned that the family could

use his help caring for their mother.    The Probation Office conducted a virtual

inspection of Mrs. Wood’s home, and reports that Brandberg’s release plan appears

appropriate. At the hearing, Brandberg informed the Court he could work on Mr.

Wood’s commercial fishing crew, if permitted by the Court.

      Also at the hearing, Brandberg argued for the first time that his family’s

circumstances and his need for substance abuse treatment present additional

“extraordinary and compelling reasons” for his release. As mentioned, Mrs. Wood

told the Probation Office that she and her husband could use help caring for her

mother. She also wrote Brandberg’s counsel to say that the family is in desperate

need of help. Mrs. Wood’s and Brandberg’s mother is 86 years old, with advanced

chronic obstructive pulmonary disease and a mass on her kidney and needs 24 -hour

care. Although she has a caregiver on weekdays, caretaking duties in the evening

and weekends fall to Mrs. and Mr. Wood, who both have health issues that limit their

mobility.




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      Brandberg’s history of substance abuse dates back to his early teens. PSR (doc.

35) at ¶¶ 58, 59. He began using methamphetamine at age 35. Id. at ¶59. Each of

Brandberg’s prior convictions either involved methamphetamine or involved failures

to participate in drug treatment and testing.      Id. at ¶¶ 32–33 (2004 and 2005

convictions for possession of a controlled substance), ¶ 34 (2006 convictions for

frequenting a place where controlled substances are used and manufacture and

delivery of a controlled substance), ¶ 35 (2009 conviction for possession of

methamphetamine), ¶ 36–37 (2011 convictions for contempt of court for failing to

complete a drug and alcohol evaluation and failure to submit to urinalysis testing), ¶

38 (2016 felon-in-possession conviction stemming from a search of Brandberg’s

apartment where officers found methamphetamine and oxycodone pills, in addition

to ammunition and a rifle).

      Throughout his term of supervised release before this Court, Brandberg

struggled to refrain from controlled substance use.          He admitted to using

methamphetamine on January 25, February 16, March 15, and May 22, 2018, despite

being referred to substance abuse treatment at ReConnections, completing an

assessment, and attending several sessions (though he ultimately discontinued

treatment). Id. at ¶ 38. At a status hearing on June 26, 2018, the Court ordered him

to reengage in treatment. Id. He did not and, instead, committed the underlying

possession offense.

      Brandberg argues that this history demonstrates his great need for substance

abuse treatment, and that release is necessary to ensure that he can participate in




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treatment as soon as possible.        At sentencing, the Court recommended that

Brandberg have the opportunity to participate in the Residential Drug and Alcohol

Program (RDAP) while at FCI Sheridan. Doc. 39 at 2. However, Brandberg argues

that he is unlikely to be admitted to the RDAP program. RDAP participants must

have at least 24 months remaining on their sentence when they begin the program,

and Brandberg asserts that a new cohort of participants started this week and RDAP

is unlikely to start another cohort until this one finishes nine months from now. But

Brandberg will not be eligible for RDAP nine months from now because his release

date is November 2022.

      Compassionate release is “rare” and “extraordinary,” and courts routinely deny

such claims. United States v. Mangarella, 2020 WL 1291835, at *2–3 (W.D.N.C. Mar.

16, 2020) (“[A] compassionate release ... is an extraordinary and rare event.”) (citation

omitted). A defendant bears the burden to show special circumstances meeting the

high bar set by Congress and the Sentencing Commission for compassionate release.

See United States v. Greenhut, 2020 WL 509385, at *1 (C.D. Cal. Jan. 31, 2020)

(holding that a defendant bears the burden of establishing entitlement to sentencing

reduction and citing United States v. Sprague, 135 F.3d 1301, 1306-07 (9th Cir.

1998)). The Court cannot conclude that Brandberg met that burden here.

      During the COVID-19 pandemic, many courts have recognized that, when a

defendant has a chronic medical condition that may substantially increase the

defendant’s risk of becoming seriously ill or dying from COVID-19, that condition may

satisfy the standard of extraordinary and compelling reasons. See Hanson, 2020 WL




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##, at *7–9; United States v. Barber, No. 6:18-cr-00446-AA-1, 2020 WL 2404679, at

*4–5 (D. Or. May 12, 2020); Joling, 2020 WL 1903280, at *4–5. But the record does

not support Brandberg’s claim of lung problems or other conditions that increase his

risk of severe illness or death from COVID-19. His chronic migraines are not a

recognized COVID-19 risk factor. See People with Certain Medical Conditions, CTRS.

FOR DISEASE   CONTROL & PREVENTION: CORONAVIRUS DISEASE 2019 (COVID-19) (July

17, 2020), https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people -

with-medical-conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2F

coronavirus%2F2019-ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk

.html (last visited Sept. 17, 2020).   The Court recognizes that Brandberg’s age

heightens the risk from COVID-19. However, the number of confirmed COVID-19

infections at FCI Sheridan is low and has been throughout the pandemic.

      Brandberg’s additional reasons—his need for substance abuse treatment and

family circumstances—are among the circumstances that prevent the Court from

finding that his release would not pose a danger to the community. Brandberg’s

federal offenses were very serious—they involved possession of weapons and

significant quantities of controlled substances. Given his history of substance abuse,

drug-related convictions, noncompliance with ordered treatment, and supervision

failures, he needs close supervision and intensive treatment to ensure his success on

release. I cannot find that Brandberg’s plan for release to the community where his

underlying offenses (and most of his prior offenses) occurred and to participate in

substance abuse treatment at the same provider he saw while on federal supervision




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would provide the level of treatment and supervision that Brandberg needs. And,

while I appreciate his family’s need for additional caretakers, I cannot find that

taking on that role so early in Brandberg’s release and recovery would be conducive

to his success on release. Moreover, I cannot determine that there are conditions of

release that will reasonably assure the safety of the community if Brandberg were

released directly to Newport because the stringent conditions that I imposed in 2016

did not prevent him from committing another crime.

      Finally, because I sentenced Brandberg to a significant downward departure

only three months ago based on a careful consideration of the § 3553(a) factors, I

cannot find that those factors would support his release at this time.

                                  CONCLUSION

      For the reasons above, Brandberg’s motion (doc. 41) is DENIED. As mentioned

at the hearing, if circumstances change, Brandberg may file a renewed motion, which

the Court will consider on an expedited basis.

      IT IS SO ORDERED.

                 18th day of September 2020.
      Dated this _____




                                    /s/Ann Aiken
                            __________________________

                                    Ann Aiken
                            United States District Judge




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